
Truax, J.
The action was brought by the plaintiff to recover a certain sum of money for a balance alleged to be due to the plaintiff from the defendant for unpaid salary as treasurer of the defendant. \
It was alleged in the answer, among other things, that the plaintiff had resigned his position as treasurer, and abandoned the defendant’s business, and had'not offered or tendered his services, as treasurer, to the defendant, since the day of his resignation.
The trial judge correctly stated the only question in the case when he left it to the jury to determine whether the plaintiff, in June, 1883, resigned his office of treasurer. That question the jury determined against plaintiff, and as there was evidence to warrant such determination, the judgment and order must be affirmed, with costs.
Judgment and order affirmed, with costs.
O’Gorman, J., concurs.
